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   Attorney for Defendant
   WILLIAM WONG

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII

   UNITED STATES OF AMERICA                  ) CR. NO. 21-00041 DKW
                                             )
               Plaintiff,                    ) NOTICE OF WITHDRAWAL AND
                                             ) SUBSTITUTION OF COUNSEL
         vs.                                 )
                                             )
   WILLIAM WONG,                             )
                                             )
               Defendant.                    )
                                             )

        NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL
               COMES NOW Megan K. Kau, Esq. and enters her withdrawal as
   counsel for Defendant WILLIAM WONG in the above-entitled action.
               William A. Harrison, Esq. hereby enters as counsel for Defendant
   WILLIAM WONG herein.
         DATED: Honolulu, Hawaii,         September 12, 2022                       .


                                             /s/ Megan K. Kau
                                        MEGAN K. KAU
                                        Withdrawing Counsel for Defendant
                                        WILLIAM WONG
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        DATED: Honolulu, Hawaii,         September 12, 2022                .



                                      __________________________________________
                                      WILLIAM A. HARRISON
                                      Substitute Counsel for Defendant
                                      WILLIAM WONG




   ACKNOWLEDGED AND AGREED:



   WILLIAM WONG



    DATED : September 13, 2022 at Honolulu, Hawai'i.
   APPROVED AND SO ALLOWED:


    /s/ DERRICK K. WATSON
   JUDGE OF THE ABOVE-ENTITLED COURT




   UNITED STATES OF AMERICA vs. WILLIAM WONG; CR. NO. 21-00041 DKW
   Notice of Withdrawal and Substitution of Counsel
                                        2
